Page 2 of 2

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2. Paragraph C. Who Is An Insured in Section II

— Liability is replaced by the following:

1. Each of the following is an insured under
this endorsement to the extent set forth be-
low:

a. You;

b. Any other person using a "hired auto"
with your permission;

c. For a "non-owned auto":

(1) Any partner or "executive officer" of
yours; or

(2) Any "employee" of yours;

but only while such "non-owned auto" is
being used in your business; and

d. Any other person or organization, but
only for their liability because of acts or
omissions of an insured under a., b. or
c. above.

2. None of the following is an insured:

a. Any person engaged in the business of
his or her employer for "bodily injury" to
any co-"employee" of such person in-
jured in the course of employment, or to
the spouse, child, parent, brother or sis-
ter of that co-"employee" as a conse-
quence of such “bodily injury", or for any
obligation to share damages with or re-
pay someone else who must pay dam-
ages because of the injury;

b. Any partner or "executive officer" for any
“auto” owned by such partner or officer
or a member of his or her household;

c. Any person while employed in or other-
wise engaged in duties in connection
with an "auto business", other than an
"auto business" you operate;

d. The owner or lessee (of whom you are a
sublessee) of a "hired auto" or the
owner of a "non-owned auto" or any
agent or "employee" of any such owner
or lessee; or

e. Any person or organization for the con-
duct of any current or past partnership
or joint venture that is not shown as a
Named Insured in the Declarations.

C. For the purposes of this endorsement only, Para-
graph H. Other Insurance in Section Ill — Com-
mon Policy Conditions is replaced by the follow-
ing:

This insurance is excess over any primary insur-
ance covering the “hired auto” or "non-owned
auto".

D. The following additional definitions apply:

1. "Auto business" means the business or occu-
pation of selling, repairing, servicing, storing or
parking "autos".

2. "Hired auto" means any "auto" you lease, hire,
rent or borrow. This does not include any
"auto" you lease, hire, rent or borrow from any
of your "employees", your partners or your "ex-
ecutive officers" or members of their house-
holds.

3. "Non-owned auto" means any "auto" you do
not own, lease, hire, rent or borrow which is
used in connection with your business. This in-
cludes "autos" owned by your "employees",
your partners or your "executive officers", or
members of their households, but only while
used in your business or your personal affairs.

© Insurance Services Office, Inc., 2009 BP 04 04 01 10

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Case 1:23-mi-99999-UNA Document 122-5 Filed 01/13/23 Page 2 of 18
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Policy Number 19001699759

Alfa Insurance’
P.O. BOX 11000 0
MONTGOMERY, AL 36191-0001

AMENDATORY POLICY PROVISIONS

Please read this carefully and keep for your records.

1. The MUTUAL CONDITIONS provisions in the Businessowner Policy issued through Alfa Mutual Insurance Company in
the State of Alabama is being deleted and replaced with the following MEMBERSHIP provision:

MEMBERSHIP

While this policy is in force, the insured name in the Declarations is a member of the insurer issuing this policy with all
rights and obligations of such membership, including the right to receive any dividends declared by its Board of Directors
payable on this policy or policies of like kind and classification as this policy. The annual meeting of members of the
insurer shall be held at its executive offices in Montgomery, Alabama, on the fourth Thursday of April in each year at
11:00 a.m., unless changed at the preceding annual meeting of members or by the Board of Directors and notice given.
If a member has authorized the Board of Directors to vote as their proxy at said meeting and wishes to revoke such
proxy, such member may do so by written notice to the Secretary, by registered mail to 2108 East South Boulevard,
Montgomery, Alabama 36116 at least 20 days prior to said meeting.

This is a non-assessable policy.

IN WITNESS WHEREOF, this policy is signed by the President issuing this policy.

huey

President

2. If "you" have a Church Policy issued through Alfa Mutual Insurance Company or Alfa Insurance Corporation, in the
State of Alabama or the State of Georgia, the IN WITNESS THEREOF provision of "your" policy is being deleted and
being replaced with:

IN WITNESS WHEREOF, this policy is signed by the President issuing this policy.

hae

President
The following applies to policies issued through Alfa Insurance Corporation in the State of Mississippi:

3. If "you" have a Church Policy issued through Alfa Insurance Corporation, in the State of Mississippi, the IN WITNESS
WHEREOF provision of "your" policy is being deleted and being replaced with:

IN WITNESS WHEREOF, this policy is signed by the President issuing this policy, but the same will not be binding upon
"us" unless the declaration made a part of this policy, signed by the President of the Company issuing the policy.

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ALMP1GW (11/17) President
Case 1:23-mi-99999-UNA Dampers eaadoodded 01/13/23 Page 4 of 18

KINGDOM BUILDERS COVENANT CHURCH INC
1151 FLAT SHOALS RD SE
CONYERS, GA 30013-1709

| OUTGROWING

your insurance coverage? |

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Church Policy
Policy Number: 19001699759
Policy Effective Dates: 08/11/2022 - 08/11/2023

Your Hometown Alta® Agent
Wallace Herring

871 LEE RDSTEA
MACON, GA 31204
478-746-1015
WHerring@alfains.com

Alfa Insurance’

P.O. BOX 11000
MONTGOMERY, AL 36191-0001

KINGDOM BUILDERS COVENANT CHURCH ING
1151 FLAT SHOALS RD SE
CONYERS, GA 30013-1709

THIS IS NOT A BILL.

How To Reach Us:

In Person: Any Alfa Office
Toll-Free: 1-800-964-2532
Online: www.alfainsurance.com

NOTICE OF POLICY CHANGE For information about your policy, to file a claim or
. make a payment, choose one of the convenient
Since 1946, our customers have trusted us to protect what methods above.

they value most, and we're excited you are part of the Alfa
family. Thank you for being a loyal Alfa customer.

A change has been processed on your policy. Enclosed is

your amended Declarations page, which includes your Inside This Packet:

coverage information and any added or revised schedules

or endorsemenis. ¢ State of Georgia Information and Privacy

The following is a list of changes to your policy effective Policy

08/12/2022: * Declarations

° Add Businessowners Line:Certificate Holder * Forms, endorsements and exclusions making
NATIONAL COVENANT PROPERTIES up your policy

° Change Water Back-Up and Sump Overflow

Should you have any questions about your policy, please
contact your Alfa agent.
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State of Georgia

Alfa Insurance’

P.O. BOX 11000
MONTGOMERY, AL 36191-0001

NESS od 5

This notice applies to insurance transactions involving
insurance primarily for personal, family or household needs
rather than business or professional needs.

WE THINK YOU SHOULD KNOW...

You may request information pertaining to the specific
items of personal information which were the basis of the
underwriting decision regarding:

... declination of insurance coverage
. .. termination of your insurance coverage
.-. an increase in your insurance premium

You also have the right to know the names and addresses
of any institutional sources that supplied this information. If
you have not already been advised of this information, you
may make a written request for it. Here is the procedure:

1. After you submit a written request for access to recorded
personal information which is reasonably locatable and
retrievable, within 30 days we will:

a. Inform you of the nature and substance of the
recorded personal information in writing, by
telephone or by other oral communication.

b. permit you to see and copy, in person, the recorded
personal information which applies to you, or provide
you with copies of this information by mail, whichever
you prefer.

c. inform you of the persons, if recorded, to which the
personal information has been disclosed within two
years of your request.

If the identities have not been recorded, we will
provide you with the names of those insurance _
institutions, agents, insurance-support organizations
or other persons to whom such information is
normally disclosed.

d. provide you with a summary of the procedures by
which you may request correction, amendment or
deletion of recorded personal information.

2. Medical-record information provided by a medical-care
institution or a medical professional will be supplied,
along with the source of information, to you or you
will be notified that it has been disclosed to a medical
professional you've designated and who is licensed for
the conditions to which the information applies.

3. We may charge you a reasonable fee to cover the
costs incurred in providing you with a copy of recorded
personal information. If the information applies to
reasons for an adverse underwriting decision, there will
be no charge.

4. In some circumstances, our obligations to you regarding
access to recorded personal information may be
satisfied by referring you to an insurance-support
organization.

5. Access to recorded personal information may be
denied to the extent that the information is collected in
connection with or in reasonable anticipation of a claim
or civil or criminal proceeding.

AU610 11/17

Information and
Privacy Policy

Not Part of the Insurance Policy

6. Information obtained from a report prepared by an
insurance-support organization may be retained by the
insurance-support organization and disclosed to other
persons.

Finally, we want you to know you have the following rights
in regard to the correction, amendment or deletion of
recorded personal information:

1. Within 30 days of receiving your written request to
correct, amend or delete any recorded personal
information we have, we will:

a. correct, amend or delete the portion of the recorded
personal information in dispute; or

b. notify you of our refusal to make the correction,
amendment or deletion, the reasons for the refusal
and your right to file a protest statement.

2. If the recorded personal information is corrected,
amended or deleted, you will be notified in writing and
this information will be furnished to:

a. any person you've designated who may have, within
the preceding two years, received such recorded
personal information.

b. any insurance-support organization whose primary
source of personal information is insurance
institutions, if it has systematically received recorded
personal information about you from us within the

receding seven years. unless this information is no
onger maintained.

c. any insurance-support organization that furnished
the personal information that has been corrected,
amended or deleted.

3. If you disagree with a refusal to correct, amend or delete
recorded personal information, you may file a:

a. concise statement setting forth what you think is the
correct, relevant or fair information, and

b. concise statement of the reasons why you disagree
with the refusal to correct, amend or delete recorded
personal information.

4. lf (ou file either of the statements described above, we
WII?

a. file the statement with the disputed personal
information and provide a means by which anyone
reviewing the disputed personal information will be
made aware of the statement and have access to it.

b. in any subsequent disclosure of the recorded
personal information that is the subject of
disagreement, clearly identify the information in
dispute and provide the statements that have been
iled.

c. furnish the statement to any of the three categories
of persons and organizations covered in the
preceding paragraph 2.

ALFA INSURANCE CORPORATION
ALFA GENERAL INSURANCE CORPORATION
ALFA LIFE INSURANCE CORPORATION
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Alfa Insurance’

P.O. BOX 11000
MONTGOMERY, AL 36191-0001

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Declarations

Church Policy
Policy Number: 19001699759

Your Hometown Alta® Agent
Wallace Herring

871 LEE RDSTEA

MACON, GA 31204
478-746-1015
WHerring@alfains.com

Named Insured(s): KINGDOM BUILDERS COVENANT
CHURCH INC

1151 FLAT SHOALS RD SE
CONYERS, GA 30013-1709

Mailing Address:

00919656
CHURCH

Customer Number:
Entity:

Insurer: Alfa Insurance Corporation

Policy Number: 19001699759
Declarations Type: Policy Change
Effective 08/12/22

Total Property Premium: $11,484.00
Advanced Liability Premium: $331.00

Total Policy Premium: $11,815.00

Policy Effective Date: August 11, 2022

Policy Expiration Date: August 11, 2023

This policy term is effective and will expire 12:01 a.m. Standard Time on the dates shown above and will be effective for this and
subsequeni policy terms if the required current and renewal premium is paid by you, or on your behalf and if payment is accepted by us.

Section | - Property Coverages

Location 1 Property Deductible(s)

Deductible:
Windstorm Or Hail Percentage Deductible:

Location 1: 1151 FLAT SHOALS RD SE, CONYERS, GA 30013-1709

$10,000
n/a
If your policy contains endorsements, other deductibles may display on the Endorsement or in the Endorsements section.

Location 1 Coverages

Building Number Building Description

1 Sanctuary

Building Limit: $2,950,000
Building Limit - Automatic Increase: 4%
Building Personal Property Limit: $443,000

Classification Code
41650

Building Valuation: Replacement Cost

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Your bill is being mailed separately.

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Declarations

Church Policy
Policy Number: 19001699759

Building Number Building Description

2 Gym

Building Limit: $1,333,000
Building Limit - Automatic Increase: 4%
Building Personal Property Limit: $200,000

Classification Code
41650

Building Valuation: Replacement Cost

Business Income:

Extra Expense:

Pollutant Clean-up And Removal:
Money Orders And "Counterfeit Money”:

Increased Cost Of Construction:

Fire Extinguisher Systems Recharge Expense:
Interruption Of Computer Operations:

Limited Coverage For "Fungi", Wet Rot Or Dry Rot:

Location 1 Optional Coverages Limit Premium
Business Personal Property Temporarily In
Portable Storage Units: $20,000 Included
Electronic Data: $10,000 Included
Equipment Breakdown: $1,259.00

Optional Deductible: $500

Optional Time Deductible - Hours: 72
Forgery Or Alteration: $2,500 Included
Money And Securities

On Premises: $10,000 $123.00

Off Premises: $10,000 Included
Fire Department Service Charge: $2,500 Included
Outdoor Property: $5,000 Included
Outdoor Signs: $5,000 $165.00
Personal Effects Of Clergy: $5,000 $30.00
Theft of Jewelry, Furs, Etc: $5,000 Included
Valuable Papers And Records: $20,000 Included
Property Optional Coverages Limit Premium
Employee Dishonesty: $10,000 $20.00
Property Included Coverages Limit

12 Consecutive Months After The Date Of Direct Physical Loss Or Damage

Actual Loss Sustained For 12 Months

$10,000
$1,000
$10,000
$5,000
$10,000
$15,000

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Declarations

Section II - Liability Coverages

Church Policy
Policy Number: 19001699759

Business Liability

Each Occurrence Limit:

Personal And Advertising Injury Limit:

General Aggregate Limit:

Products/Completed Operations Aggregate Limit:
Medical Expenses - Per Person Limit:

Damage To Premises Rented To You:

If your policy contains endorsements, other deductibles may display in the Endorsements section.

Limit
$1,000,000
$1,000,000
$2,000,000
$2,000,000

$10,000
$50,000

Liability Schedule

Individual Risk Premium Modification

Classification Code Liability Exposure Liability Exposure Base
41650 15,000 Square Footage
41650 17,000 Square Footage
Discounts

Endorsements
Premiums displayed in this section may be reflected in the Total Policy Premium.

BP 04 53 07 13 Water Back-Up and Sump Overflow

SCHEDULE

Premises Number: 1

Premises Address: 1151 FLAT SHOALS RD SE, CONYERS, GA 30013-1709
Covered Property Annual Aggregate Limit Of Insurance: $5,000

Business Income And Extra Expense Annual Aggregate Limit Of Insurance: $5,000

BP 05 15 01 15 Disclosure Pursuant to Terrorism Risk Insurance Act
SCHEDULE - Part I

Terrorism Premium (Certified Acts): Included

Additional Information, If Any, Concerning The Terrorism Premium:
SCHEDULE - Part Il

Federal Share Of Terrorism Losses: 80% Year: 2,022

Federal Share Of Terrorism Losses: 80% Year: 2,023

SCH 213 01 18 Directors officers and Trustee Endorsement
See Endorsement for Details

Continued on next page

For the Endorsements below, refer to the Policy Endorsement for Policy Language.

Premium

$48.00

Included

$49.00

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Declarations

Church Policy

Policy Number: 19001699759

Endorsements
For the Endorsements below, refer to the Policy Endorsement for Policy Language.
Premiums displayed in this section may be reflected in the Total Policy Premium.

BP 04 04 01 10 Hired Auto and Non-Owned Auto Liability
See Endorsement for Details

SCH 218 01 18 Sexual Misconduct Endorsement
See Endorsement for Details

BP 05 23 01 15 Cap on Losses from Certified Acts of Terrorism

BP 01 76 02 15 Georgia Changes

BP 04 17 01 10 Employment - Related Practices Exclusion

BP 05 77 01 06 Fungi or Bacteria Exclusion (Liability)

BP 14 86 07 13 Communicable Disease Exclusion

BPC 60 00 01 18 Exclusion - Lead and Asbestos

BP 10 59 07 02 Georgia Exterior Paint and Waterproofing Exclusion
SCH 200 01 18 Revision Business Owners Church Form

BP 01 99 10 13 Georgia Changes - Loss Payment

BP 05 17 01 06 Exclusion - Silica or Silica-Related Dust

BP 10 05 07 02 Exclusion - Year 2000 Computer-Related and Other Electronic Problems

BP 15 04 05 14 Exclusion - Access or Disclosure of Confidential or Personal Information and
Data-Related Liability - with Limited Bodily Injury Exception

Premium

$164.00

$82.00

Included

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Forms Schedule

AU610 State of Georgia Information and Privacy Policy
ALLPN1 Alfa's Privacy Notice

BOPDEC BusinessOwner Declaration

Acord 25 Certificate of Liability

BP IN010713 Businessowners Coverage Form Index
Continued on next page

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Declarations

Church Policy

Policy Number: 19001699759

Forms Schedule

BP 00 03 07 13
BP 05 15 01 15
BP 05 23 01 15
BP 01 76 02 15
BP 04 53 07 13
SCH 213 01 18
BP 04 04 01 10
BP 04 17 01 10
BP 05 77 01 06
BP 14 86 07 13
BPC 60 00 01 18
BP 10 59 07 02
SCH 200 01 18
SCH 218 01 18
BP 01 99 10 13
BP 05 17 01 06
BP 10 05 07 02
BP 15 04 05 14

Businessowners Coverage Form

Disclosure Pursuant to Terrorism Risk Insurance Act
Cap on Losses from Certified Acts of Terrorism
Georgia Changes

Water Back-Up and Sump Overflow

Directors officers and Trustee Endorsement

Hired Auto and Non-Owned Auto Liability
Employment - Related Practices Exclusion

Fungi or Bacteria Exclusion (Liability)
Communicable Disease Exclusion

Exclusion - Lead and Asbestos

Georgia Exterior Paint and Waterproofing Exclusion
Revision Business Owners Church Form

Sexual Misconduct Endorsement

Georgia Changes - Loss Payment

Exclusion - Silica or Silica-Related Dust

Exclusion - Year 2000 Computer-Related and Other Electronic Problems

Exclusion - Access or Disclosure of Confidential or Personal Information and
Data-Related Liability - with Limited Bodily Injury Exception

ALMP1GW 1117 Amendatory Policy Provisions

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Page 2 of 3

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B. Section Ill - Common Policy Conditions is
amended as follows:

1. Paragraph A. Cancellation is amended as
follows:

a. Paragraph 1. is replaced by the following:

1. The first Named Insured shown in the
Declarations may cancel this policy by
mailing or delivering to us advance
written notice of cancellation stating a
future date on which the policy is to be
cancelled, subject to the following:

a. If only the interest of the first Named
Insured is affected, the effective date
of cancellation will be either the date
we receive notice from the first
Named Insured or the date specified
in the notice, whichever is later.
However, upon receiving a written
notice of cancellation from the first
Named Insured, we may waive the
requirement that the notice state the
future date of cancellation by
confirming the date and time of
cancellation in writing to the first
Named Insured.

b. If by statute, regulation or contract
this policy may not be cancelled
unless notice is given to a
governmental agency, mortgagee or
other third party, we will mail or
deliver at least 10 days' notice to the
first Named Insured and the third
party as soon as practicable after
receiving the first Named Insured's
request for cancellation.

Our notice will state the effective
date of cancellation, which will be the
later of the following:

(1) 10 days from the date of mailing
or delivering our notice; or

(2) The effective date of cancellation
stated in the first Named
Insured's notice to us.

b. Paragraph 5. is replaced by the following:

5. Premium Refund

a. If this policy is cancelled, we will
send the first Named Insured any
premium refund due.

b. If we cancel, the refund will be pro
rata, except as provided in c. below.

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c. If the cancellation results from failure
of the first Named Insured to pay,
when due, any premium to us or any
amount, when due, under a premium
finance agreement, then the refund
may be less than pro rata.
Calculation of the return premium at
less than pro rata represents a
penalty charged on _ unearned
premium.

d. If the first Named Insured cancels,
the refund may be less than pro rata.

e. The cancellation will be effective
even if we have not made or offered
a refund.

c. The following is added to Paragraph A. and

supersedes any other provisions to the
contrary:

If we decide to:
(1) Cancel or nonrenew this policy; or

(2) Increase current policy premium by
more than 15% (other than any increase
due to change in risk, exposure or
experience modification or resulting
from an audit of auditable coverages); or

(3) Change any policy provision which
would limit or restrict coverage;

then:

We will mail or deliver notice of our action
(including the dollar amount of any increase
in renewal premium of more than 15%) to
the first Named Insured and lienholder, if
any, at the last mailing address known to
us. Except as applicable as described in
Paragraph d. or e. below, we will mail or
deliver notice at least:

(1) 10 days before the effective date of
cancellation if this policy has been in
effect less than 60 days or if we cancel
for nonpayment of premium; or

(2) 45 days before the effective date of
cancellation if this policy has been in
effect 60 or more days and we cancel
for a reason other than nonpayment of
premium; or

(3) 45 days before the expiration date of
this policy if we decide to nonrenew,
increase the premium or limit or restrict
coverage.

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POLICY NUMBER: 19001699759

BUSINESSOWNERS
BP 04 53 07 13

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
WATER BACK-UP AND SUMP OVERFLOW

BUSINESSOWNERS COVERAGE FORM

This endorsement modifies insurance provided under the following:

SCHEDULE

Premises Number

Covered Property Annual Aggregate
Limit Of Insurance

Business Income And Extra Expense
Annual Aggregate Limit Of Insurance

$ $
$ $
$ $

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

BP 04 53 07 13

A. We will pay for direct physical loss or damage to

Covered Property, covered under Section | —
Property, caused by or resulting from:

1. Water or waterborne material which backs up
through or overflows or is otherwise discharged
from a sewer or drain; or

2. Water or waterborne material which overflows
or is otherwise discharged from a sump, sump
pump or related equipment, even if the
overflow or discharge results from mechanical
breakdown of a sump pump or its related
equipment.

However, with respect to Paragraph A.2., we will
not pay the cost of repairing or replacing a sump
pump or its related equipment in the event of
mechanical breakdown.

B. The coverage described in Paragraph A. of this

endorsement does not apply to loss or damage
resulting from:

1. An insured's failure to keep a sump pump or its
related equipment in proper working condition;

2. An insured's failure to perform the routine
maintenance or repair necessary to keep a
sewer or drain free from obstructions; or

3. Sump pump failure which is caused by or
results from failure of power, unless this policy
is endorsed to cover power failure affecting the
described premises.

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C. The most we will pay for the coverage provided

under this endorsement for all direct physical loss
or damage to Covered Property is the Covered
Property Annual Aggregate Limit of Insurance.
That limit is $5,000 per location, unless a different
Covered Property Annual Aggregate Limit Of
Insurance is indicated in the Schedule of this
endorsement.

The applicable Covered Property Annual
Aggregate Limit of Insurance is the most we will
pay under this endorsement for the total of all
direct physical loss or damage sustained in any
one policy year, regardless of the number of
occurrences that cause or result in loss or damage
to Covered Property. If loss payment for the first
such occurrence does not exhaust the applicable
Limit of Insurance, then the balance of that limit is
available for subsequent loss or damage
sustained in, but not after, that policy year. With
respect to an occurrence which begins in one
policy year and continues or results in additional
loss or damage in a subsequent policy year(s), all
loss or damage is deemed to be sustained in the
policy year in which the occurrence began.

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POLICY NUMBER: 19001699759 BUSINESSOWNERS
BP 01 99 10 13

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
GEORGIA CHANGES — LOSS PAYMENT

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS COVERAGE FORM

Paragraph 5.a. Loss Payment in Section | — (2) Take all or any part of the property at an
Property is replaced by the following: agreed or appraised value.

a. In the event of loss or damage covered by With respect to Paragraph a.(1), this policy

this policy, at our option we will either: covers only the cost of repair, rebuilding or

replacement. Such cost does not include
recovery of, and therefore this policy does
not pay any compensation for, an actual or
perceived reduction in the market value of
any property. But if the property that has
sustained loss or damage is subject to an
endorsement which explicitly addresses
market value, then that endorsement will
apply to such property in accordance with
its terms.

(1) Repair, rebuild or replace the property
with other property of like kind and
quality, or pay the cost of such repair,
rebuilding or replacement, as limited by
paragraph E.5.d.(1)(e) of this Loss
Payment Condition and any other
applicable policy provision, such as the
Limit of Insurance provision; or

BP 01 99 10 13 © Insurance Services Office, Inc., 2013 Page 1 of 1
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Esa Os ara f-4l rr ee N ot ce

Policy Number 19001699759

Alfa Insurance’

P.O. BOX 11000 a
TaN D va\
MONTGOMERY, AL 36191-0001

AMENDATORY POLICY PROVISIONS

Please read this carefully and keep for your records.

1. The MUTUAL CONDITIONS provisions in the Businessowner Policy issued through Alfa Mutual Insurance Company in
the State of Alabama is being deleted and replaced with the following MEMBERSHIP provision:

MEMBERSHIP

While this policy is in force, the insured name in the Declarations is a member of the insurer issuing this policy with all
rights and obligations of such membership, including the right to receive any dividends declared by its Board of Directors
payable on this policy or policies of like kind and classification as this policy. The annual meeting of members of the
insurer shall be held at its executive offices in Montgomery, Alabama, on the fourth Thursday of April in each year at
11:00 a.m., unless changed at the preceding annual meeting of members or by the Board of Directors and notice given.
If a member has authorized the Board of Directors to vote as their proxy at said meeting and wishes to revoke such
proxy, such member may do so by written notice to the Secretary, by registered mail to 2108 East South Boulevard,
Montgomery, Alabama 36116 at least 20 days prior to said meeting.

This is a non-assessable policy.

IN WITNESS WHEREOF, this policy is signed by the President issuing this policy.

huey

President

2. If "you" have a Church Policy issued through Alfa Mutual Insurance Company or Alfa Insurance Corporation, in the
State of Alabama or the State of Georgia, the IN WITNESS THEREOF provision of "your" policy is being deleted and
being replaced with:

IN WITNESS WHEREOF, this policy is signed by the President issuing this policy.

hae

President
The following applies to policies issued through Alfa Insurance Corporation in the State of Mississippi:

3. If "you" have a Church Policy issued through Alfa Insurance Corporation, in the State of Mississippi, the IN WITNESS
WHEREOF provision of "your" policy is being deleted and being replaced with:

IN WITNESS WHEREOF, this policy is signed by the President issuing this policy, but the same will not be binding upon
"us" unless the declaration made a part of this policy, signed by the President of the Company issuing the policy.

hay

ALMP1GW (11/17) President
